a

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION ATDAYTON 3001. 22 PH 2 26
SE caNer RY Re?
ATED: St ES
IN THE MATTER OF THE APPLICATION AACR pas pt Cea Mtiper
OF THE UNITED STATES OF AMERICA WARRANT FOR A
FOR A WARRANT AUTHORIZING THE TRACKING DEVICE

INSTALLATION AND MONITORING OF

A TRACKING DEVICE IN OR ON A 2-DOOR 2005
CHEVORLET COBALT, ORANGE IN COLOR
BEARING OHIO LICENSE PLATE NUMBER
FSY-8551, VEHICLE IDENTIFICATION

NUMBER 1G1AL12F957623479

WHEREAS an affidavit has been presented to the Court by Todd H. Burkart, Special
Agent, Federal Bureau of Investigation, and upon full consideration having been given to the
matters set forth therein, this Court finds that there is probable cause to install and use a tracking
device in or on a vehicle described as orange 2-door 2005 Chevrolet Cobalt (according to open
source databases, Chevrolet replaced the Cavalier with the Cobalt in 2005), further identified by
VIN 1G1AL12F957623479 and Ohio License Plate FSY-8551 (“SUBJECT VEHICLE”), and
that the use of such tracking device will lead to evidence, fruits, and instrumentalities of
violations of federal criminal law, including “Theft or Bribery Concerning Programs Receiving
Federal Funds,” in violation of 18 U.S.C. § 666.

IT IS HEREBY ORDERED, pursuant to Federal Rule of Criminal Procedure 41 and
Title 18, United States Code, § 3117, that Special Agent Todd H. Burkart, together with other
FBI special agents, federally deputized state and local law enforcement officers (including the
OOCIC Task Force), and other government and contract personnel acting under the supervision
of such law enforcement officers are authorized, within ten calendar days from the date of this

warrant, to install a tracking device in or on the SUBJECT VEHICLE within the Southern
District of Ohio during the daytime or nighttime hours to ensure the safety of the executing
officer(s) and to avoid premature disclosure of the investigation.

It is further ORDERED that said FBI special agents, OOCIC Task Force and their
authorized representatives are authorized to the extent necessary to enter onto private property in
order to effect the installation, repair, replacement, maintenance, and removal of the tracking
device.

It is further ORDERED that said FBI special agents, OOCIC Task Force and their
authorized representatives are authorized, for a period of 45 days from the date the warrant is
issued, to monitor the tracking device installed in or on the SUBJECT VEHICLE, including
when the SUBJECT VEHICLE is inside any private garage or other location not open to the
public or visual surveillance, both within and outside the Southern District of Ohio.

It is further ORDERED that the executing officer return this warrant to the undersigned
Magistrate Judge within 10 calendar days after the use of the tracking device has ended.

It is further ORDERED that this warrant and the accompanying affidavit/application
submitted in support thereof, as they reveal an ongoing investigation, be sealed until further
Order of the Court in order to avoid premature disclosure of the investigation, guard against the
flight of fugitives, and better ensure the safety of agents and others, except that copies of the
warrant in full or redacted form may be maintained by the United States Attorney's Office, and
may be provided to special agents and other investigative and law enforcement officers of the
FBI, the OOCIC Task Force, federally deputized state and local law enforcement officers, and
other government and contract personnel acting under the supervision of such investigative or

law enforcement officers, as necessary to effectuate the warrant; and
ss)

It is further ORDERED, in accordance with 18 U.S.C. § 3103(b) and Federal Rule of
Criminal Procedure 41(f)(3), that notification of the execution of this order be delayed for a
period of 30 days after the end of the authorized period of tracking (including any extensions
thereof) because there is reasonable cause to believe that providing immediate notification would

seriously jeopardize the investigation.

Dated: October 22, 2013

   

 

Honorable Mithael RE Mer us “
United States Mosisuig sie ‘Yy j

 
